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                         IN THE UNITED STATES DISTRICT COURT
13                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
14
     MATT JONES, BRYSON DECHAMBEAU,                CASE NO. 5:22-cv-04486-BLF
15   PETER UIHLEIN, and LIV GOLF INC.,
                                                   [PROPOSED] ORDER SEALING
16                           Plaintiffs,           PORTIONS OF THE PGA TOUR INC.’S
                                                   PRESENTATION IN SUPPORT OF
17        v.                                       MOTION TO COMPEL SUBPOENA
                                                   COMPLIANCE
18   PGA TOUR, INC.,
19                           Defendant and
                             Counter-Plaintiff,
20
          v.
21
     LIV GOLF INC.,
22
                       Counter-Defendant.
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                                           [PROPOSED] ORDER
                                  CASE NO. 5:22-CV-04486-BLF
          Case 5:22-cv-04486-BLF Document 240-2 Filed 01/24/23 Page 2 of 2


1           Pursuant to Civil Local Rule 79-5, Defendant the PGA Tour, Inc. filed an administrative motion
2    to consider whether another party’s material should remain sealed. Dkt. No. 223. Plaintiff LIV Golf,
3    Inc. (“LIV”) filed a Statement and Declaration in Support of Sealing.
4           Based on the below reasoning, the Court orders that the following materials SHALL remain
5    sealed or redacted:
6
        Document                Text to be Sealed                        Basis for Sealing
7
      Dkt. No. 223-1       Presentation at slides 7-22, Contains confidential information of LIV’s
8        (Hearing          28-29, 32, and 39            relationship and terms with investors; limitations
       Presentation)                                    on LIV’s business conduct; LIV’s business plan
9                                                       and potential event structure; specific amounts of
                                                        LIV online viewers and needed investment; and
10                                                      LIV’s relationships and potential recruitment of
11                                                      third parties. Disclosure of this information would
                                                        harm LIV’s ability to obtain future investment,
12                                                      expose business information to competitors for
                                                        business gain, and affect relationships with third
13                                                      parties.
14

15          IT IS SO ORDERED.
16

17   DATED _________________________                      _____________________________________
                                                          SUSAN VAN KEULEN
18                                                        United States Magistrate Judge
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                                              [PROPOSED] ORDER
                                         CASE NO. 5:22-CV-04486-BLF
